Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 1 of 13




            EXHIBIT B-13
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 2 of 13




                                         UNDER SEAL
                                    DCCA NO. 21-BS-0059
                                 DISTRICT OF COLUMBIA
                                   COURT OF APPEALS

 In the Matter of

 CONFIDENTIAL (J.B.C.), ESQ.                              Disciplinary Docket

        Respondent,                                       No. 2021-D193

 A member of the Bar of the District of
 Columbia Court of Appeals

                     RESPONDENT’S REPLY IN SUPPORT OF
                          CROSS-MOTION TO QUASH

       Standing on all prior arguments without repeating them, the Cross-Motion to Quash should

also be granted because:

   1. Filing a Reply in Support of a Cross-Motion Is Procedurally Proper. The Rules of this

Court support the filing of this Reply in Support of Cross-Motion to Quash. DCCA Rule

27(a)(4)(B) permits motion responses to go farther and also include motions for affirmative relief.

Respondent thus filed his response on February 15, 2022 to the Motion to Compel coupled with a

cross-motion to quash (collectively, the “Response”)—which combined Respondent’s opposition

and cross-motion that Disciplinary Counsel replied to on February 18, 2022. See also DCCA R.

4(c)(2)(C) (recognizing the prospect of a cross-motion); DCCA R. 27(c) (same). As a result, this

reply in support of the cross-motion would ordinarily be due on February 21, 2022. But that is the

President’s Day holiday; even so, out of an abundance of caution, we nevertheless file this Reply

in Support of Cross-Motion to Quash on February 21, 2022, not on February 22, 2022.

   2. Senator Durbin Rightfully Not Copied. ODC now advises that Senator Durbin has not

been given copies of our responses for Mr. Clark filed with ODC on January 31, 2022. This is

appropriate. In light of its confidentiality obligations under Board Rule 2.19, ODC has properly

                                                1
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 3 of 13




retreated from its unqualified statement on Nov. 22, 2021 that “[a] necessary disclosure includes

sending a copy of your response to the complainant [i.e., Senator Durbin] for comment.” See Fox

Letter to Clark, part of Mot. to Compel, Ex. A.

   3. Disciplinary Counsel Provides No Reason to Excuse Non-Service of the Subpoena and

Non-Tendering of Attendance Fees. The subpoena (Mot. to Compel, Ex. A), is clearly blank at

the bottom of the page, where personal certification by the server is required, conclusively proving

on the face of the subpoena that proper service never occurred. ODC’s Reply also provides no

response on the failure to tender witness fees, since the Subpoena demanded Mr. Clark’s

appearance (in the alternative), if he opted not to provide the documents based on an assertion of

privilege. See id. at checked box “Production & delivery of these documents will eliminate the

need for a personal appearance.” In other words, since ODC did not know for sure at the time

whether Respondent would produce documents, it was obligated to tender attendance fees as part

of proper service under Superior Court Rule 45(b)(1). Yet it did not do so. See Response at 6-8.

       ODC notes that these days respondents often do not insist on their rights of formal service

and agree to accept electronic service. Respondent takes ODC at its word. But we are nonetheless

entitled to insist on proper service of Mr. Clark where no such agreement was ever made. The fact

that ODC may have grown accustomed to wrongly equating service with receipt of a document

by another means is not a reason to ignore the teaching of cases like Murphy Bros., Inc. v. Michetti

Pipe Stringing, Inc., where it was undisputed that the defendant got a copy of the relevant

document by fax but the Court still held that did not equal formal service and thus was defective.

526 U.S. 344 (1999). The three dissenters thought that receipt of the fax was enough, but their

position obviously did not prevail; similarly, no mere Maryland district court decision, Reply at 6,

can stand in the teeth of Murphy Brothers. Moreover, Superior Court Rule 45 cannot be rendered



                                                  2
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 4 of 13




superfluous. There would be no need to specify certification by an adult witness and the tendering

of fees, if those requirements could easily be sidestepped simply by using email instead. And email

is sometimes foiled by spam filters as this case shows. Rule 45’s terms must be adhered to.

       Respect for Mr. Clark’s legal rights may slow down the strange and unseemly haste with

which ODC wishes to proceed here. But that does not mean that standing on the rights of service

is interposed merely for delay.1 Nor do counsel’s letters to Congress reflect that Mr. Clark has

refused under any circumstances to cooperate with the January 6 Committee, as ODC suggests.2

See Reply at 2. Instead, counsel called for the Committee to seek a judicial resolution of the

executive privilege issues. Additionally, after Mr. Clark claimed his Fifth Amendment privilege in

a second deposition to the January 6 Committee, held on February 2, 2022, the Committee

responded by having a member go to the media to suggest it may offer him immunity, Response

at 10 & n.3. While the questions presented by immunity are not ripe, they obviously leave open

the prospect that Mr. Clark may cooperate. So ODC is wrong once again. Note as well that there

is no indication that the January 6 Committee plans to go to court by some means, direct or indirect,

to seek to pierce Mr. Clark’s Fifth Amendment privilege. That Committee knows that since at least



1 By way of contrast, Mr. Clark did agree, through his prior counsel, Mr. Driscoll, to accept
electronic service of the January 6 Select Committee’s subpoena (not the subpoena at issue here).
This was because Mr. Clark worried that service would be attempted at his place of employment,
something he feared for its harassing effect. But in between that time and when Mr. Clark secured
a full copy of this subpoena by email, a coordinated social media campaign to “cancel” Mr. Clark
was launched and he was driven from his job. As a result, as to this subpoena, Mr. Clark opted to
insist on proper service, and he is entitled to do so.
2 We are glad to see Mr. Fox acknowledge for the first time the close interconnection of this
proceeding and the House Select Committee’s proceedings, Reply at 2. That is what this subpoena
really seems aimed to do—i.e., to improperly use Bar processes to obtain access to documents
sought by the House Select Committee and the Senate Judiciary Committee. After all, Mr. Fox
said in his November 22, 2021, letter that he would send “a copy of your response to the
complainant [i.e., Senator Durbin] for comment.” That turns the ordinary process on its head,
where wrongdoing must first be established in some other forum before bar investigations begin.

                                                 3
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 5 of 13




two of its members (Chair Thompson and Representative Raskin) have asserted Mr. Clark or

President Trump could be prosecuted, they cannot make the argument that Mr. Clark’s invocation

of the Fifth Amendment is pretextual.3 Consider whether Congress may have wanted to misuse

ODC as a convenient stalking horse because ODC comes to the matter fresh, without having made

similar allegations of criminal wrongdoing.

   4. ODC Treats Mr. Clark’s Fifth Amendment Rights in a Cavalier Fashion. ODC

suggests Mr. Clark has nothing to worry about—if he can produce evidence of election fraud, then

ODC will go away.4 See Reply at 3-5. Beyond the fact that Mr. Clark does not have to lay out

facts and then tie them to criminal code provisions (in effect fashioning his own chains)—as ODC

has cited and can cite no cases to that effect in its Motion to Compel or Reply—ODC’s new

argument that Mr. Clark offering additional documents on election irregularities may end ODC’s

investigation cannot withstand even the slightest scrutiny:

       First, ODC has no power to bind any criminal courts, state or federal. An “oops” uttered

a year from now by ODC after forcing Mr. Clark into making a document-based admission, despite

his Fifth Amendment rights, would not un-ring the bell if such an admission has already been

made. Second, the subpoena is not limited to seeking information about election fraud. See Att.

to Subpoena (especially the 4th through 6th bullets in the Response at 12-13, reproducing subpoena

text with emphasis).5 Third, ODC’s Reply nowhere grapples with Respondent’s executive


3 Senator Durbin’s assertion in his complaint of criminal conduct to ODC is similar, but he faces
a second barrier the January 6 Committee does not face in pursuing Mr. Clark—the Senate
Judiciary Committee he chairs lacks subpoena power, given its rules and current party balance.
4 Of course, Mr. Clark has no assurance that ODC will stand down if it can review additional
documents, especially since there is ample evidence already in the record, including the draft letter
itself that Mr. Clark is being pilloried for (see below, the argument labeled “Fifth”), showing
colorable sworn evidence of election irregularities, and yet ODC presses ahead.
5 The 4th bullet calls for documents relating to any efforts to persuade DOJ officials to take steps

                                                 4
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 6 of 13




privilege, deliberative-process privilege, and attorney-client privilege arguments. See id. at 24;

see also Exhibit 1 herein, at 33-37 (summarizing these arguments and attaching detailed letters on

those matters as sent to the January 6 Committee). Fourth, Mr. Clark is being denied access to all

national security information necessary to his defense. See Exhibit 2.

       Fifth, we filed an extensive letter with ODC on January 31, 2022 (excerpts thereof included

as Exhibit 1). Pages 49-57 therein cited publicly available pre-1/3/21 information supporting the

view that the election was or at least could have been irregular and so deserved Georgia’s

investigation. Take just two examples: (i) Mr. Clark attended the 2019 D.C. Circuit Judicial

Conference where Professor Halderman spoke to acclaim from the D.C. judges in attendance

about how electronic voting machines could be hacked, see id. at 57; and (ii) more importantly,

the draft letter to Georgia officials attributed to Mr. Clark itself cited Georgia evidence:

     No doubt, many of Georgia’s state legislators are aware of irregularities, sworn to by
     a variety of witnesses, and we have taken notice of their complaints. See, e.g., the
     Chairman’s Report of the Election Law Study Subcommittee of the Standing Senate
     Judiciary Committee Summary of Testimony from December 3, 2020 Hearing,
     http://www.senatorligon.com/THE FINAL%20REPORT.PDF (Dec. 17, 2020) (last
     visited Dec. 28, 2020); Debra[] Heine, Georgia State Senate Report: Election Results
     Are ‘Untrustworthy;’ Certification Should Be Rescinded, THE TENNESSEE STAR (Dec.
     22, 2020), available at https://tennesseestar.com/2020/12/22/georgia-state-senate-
     report-electionresults-are-untrustworthy-certification-should-be-rescinded/       (last
     visited Dec. 28, 2020).

Key Document H (emphasis added), which is, in turn, an exhibit to Senator Durbin’s Subverting

Justice report (attached to Mot. to Compel) and is cited right at the start of ODC’s 11/22/21 letter.

       ODC nowhere addresses why this evidence was not alone enough to negate both Senator

Durbin’s claims of misconduct and ODC’s suggestion that the draft letter made misrepresentations.




regarding the 2020 election; the 5th calls for legal research relating to the powers of Assistant
Attorneys General; and the 6th calls for DOJ policy documents concerning contacts with the White
House (in turn raising separation of powers issues of restricting degrees of presidential freedom).
                                                  5
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 7 of 13




And we pointed this Court to the Georgia Senate Report, see Response at 22 & n.7. ODC’s refusal

to engage with this evidence in its Reply is troubling. This record reflects that ODC is not really

interested in evidence of election irregularities, but in trying to secure document-based

admissions from Mr. Clark about that evidence. That would clearly violate the executive, law-

enforcement, deliberative-process, and attorney-client privileges—all of which protect

discretionary decisionmaking at the highest levels of the Executive Branch—and would be used

by Mr. Clark’s political foes to assert misconduct occurred and urge his prosecution. Of course,

we maintain that Mr. Clark is innocent but risk of prosecution remains due to the political bonfire

into which Mr. Clark has been pulled. ODC argues there’s no risk because producing additional

evidence of election irregularities would not lead to prosecution for a list of crimes (“Respondent

is in no danger of criminal prosecution,” Reply at 4), but that ignores that the subpoena effectively

poses interrogatories to secure document-based admissions, violating Artis.

       Policy disagreements within the Department of Justice about the wisdom of any

recommendation Mr. Clark made are not the stuff of Bar discipline. Nevertheless, Mr. Clark’s foes

have repeatedly urged and may still seek his prosecution for one or more of the list of crimes they

have drawn up against him, compare Reply at 3-4 to Response at 11. Mr. Fox is an estimable

lawyer (and we are gratified that, based on what he has seen, he does not think Mr. Clark committed

a crime6) but his views do not control and there are clearly many lawyers who disagree with him

and advocate for prosecution. See Exhibit 1 (Nov. 30, 2021 letter) at 12-13 (collecting criminal

claims of Profs. Tribe and McQuade (herself a former U.S. Attorney), Joyce Vance (former U.S.

Attorney), Dennis Aftergut (former AUSA), and Glenn Kirschner (same)).7 ODC’s scornful


6 We agree there is no evidence of criminal wrongdoing, as the draft Georgia letter and Senator
Ligon’s report alone provide a colorable basis for recommending more investigation to Georgia.
7 Even Republican lawyer-legislators see risk for Mr. Clark. See House Rules Committee Hrg.

                                                 6
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 8 of 13




disregard of the risks faced by Mr. Clark is unjust. Mr. Fox does not represent Mr. Clark and has

no responsibility to protect his interests in the singular and difficult circumstances confronting

him. It is up to Mr. Clark and his counsel to decide how to protect his interests, not Mr. Fox.

    5. ODC’s Argument That a Motion to Quash Should Have Been Filed to the Board Is

Illogical. ODC argues that Respondent should have gone to the Board below to quash. This makes

no sense. It was ODC that bypassed the Board to come directly here, without engaging in a prior

meet and confer, a mere three days after the agreed-on January 31, 2022 written-inquiry response

date as to an unserved subpoena, making good on Mr. Fox’s improper threats on January 28,

2021. ODC could have requested information pursuant to Board Rule 2.9 and, if we had objected

on Mr. Clark’s behalf, the dispute would have been resolved at the Board Chair level. See Board

Rule 2.9(a). Instead, ODC immediately sought relief in this Court. Having done so, it cannot be

herd to complain that Mr. Clark also seeks counter-relief in this Court. Thus it is plain that this

Court must decide whether to quash ODC’s subpoena or simply declare the subpoena

unenforceable for non-service. Consistent with ordinary principles of judicial review, the Board

is divested of jurisdiction over this matter while the Motion to Compel is pending here.

    6. ODC’s Artis Response Fails. ODC argues that In Re Artis does not bar the interrogatories

in its subpoena because D.C. Bar Rule XI, § 8 authorizes “written inquires [sic].” Reply at 7 (citing

In re Artis, 883 A.2d 85, 93 (D.C. 2005)). This ignores that Artis held that a general denial was a

sufficient response to such “written inquiries.” Indeed, the relevant section of this Court’s opinion




Video (Dec. 2, 2021), https://www.youtube.com/watch?v=jvZ2kmeFuDI, at 1:35.10 to 1:37.40
(colloquy between Rep. Armstrong as witness and Rep. Reschenthaler as Committee Member
(“[P]eople have been openly calling for his prosecution”; He’s not “invoking his Fifth Amendment
right just to invoke it.”)). ODC’s claim that crediting Mr. Clark with a rational fear of prosecution
would leave ODC in a place where any lawyer could make vague claims and avoid a subpoena,
Reply at 4, is farcical. Mr. Clark is uniquely beset by a political mob braying for his prosecution.
                                                 7
        Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 9 of 13




in Artis starting on page 93 is entitled “Respondent’s General Denial.” Here, we submitted a

general denial and filed two letters totaling 190 pages of points, authorities and exhibits.

Therefore, D.C. Bar Rule XI, Section 8 was more than complied with. That leaves ODC arguing

the point that in Artis the interrogatories were labeled “interrogatories,” Reply at 7, i.e., the wolf

came as a wolf. But a wolf in sheep’s clothing is still a wolf. Moreover, ODC ignores that Section

8’s text requires a response to written inquiries “subject to constitutional limitations.” Mr. Clark

asserted, in thorough and comprehensive fashion, a suite of substantial constitutional limitations,

including but not limited to the separation of powers (especially in the form of the executive

privilege that defends that constitutional doctrine) and Mr. Clark’s Fifth Amendment privilege.

    7. ODC Has No Response to the Chevron Step One Defect in 28 C.F.R. § 77.2(h). Our

Response argued, as a jurisdictional matter, that (a) 28 U.S.C. § 530B was wrongly extended as a

general matter by DOJ in 28 C.F.R. § 77.2(h) to the District of Columbia, since D.C. is not a “State”

and (b) DOJ’s citations of authority in the preamble did not support such an extension and, in fact,

showed that, at best, Congress had allowed such application only for two particular fiscal years

(none of which are current fiscal year 2022). See Response at 16-19 & nn.5-6. In reality and to be

more precise, 93 Stat. 1040, 1044 simply provided that DOJ lawyers must be licensed under state,

D.C., or territorial law during fiscal year 1980 and 112 Stat. 2681, 2681-66 readopted that

provision for fiscal year 1999. Neither provision went as far as or equaled Section 530B’s

authorization to make “attorney[s] for the government subject to State laws and rules.” Indeed,

Section 77.2(h)(3) differentiates between the requirement to be a bar member and ethics rules.

        ODC ignores both the Chevron challenge and the defects in the preamble and simply cites

cases where discipline was applied to federal lawyers in D.C. or territories or that power was not




                                                  8
       Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 10 of 13




questioned.8 That is not an actual jurisdictional ruling that grapples with the Chevron step one and

DOJ rule preamble defects. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91 (1998)

(“drive-by jurisdictional rulings” are not precedential). The Chevron and preamble arguments were

not made, as far as can be seen from the cases that ODC relies upon. Hence, they are not precedent

for rejecting those arguments. Seeing discipline applied to federal lawyers barred in D.C. (or

territories for that matter) is not the same as a precedential ruling somehow overriding or excusing

the Chevron one/preamble defects. Therefore, the Court cannot simply brush the objection aside.

    8. ODC’s Cart-Before-the-Horse Arguments Ignore the Inherent Authority of the

Court. We noted that the separation-of-powers problems here are acute because the Senate

Judiciary Committee and the House January 6 Committee are both seeking Mr. Clark’s testimony

about conversations with the President or memorializations thereof. As necessary, we will develop



8 All of ODC’s cases are unavailing. None of them even cite Chevron or Section 77.2(h). See
Reply at 8-9 (citing Leis v. Flynt, 439 U.S. 438 (1979); Mendoza Toro v. Gil, 110 F. Supp. 2d 28
(D.P.R. 2000); In re Kline, 113 A.3d 202 (D.C. 2015); In re Howes, 52 A.3d 1 (D.C. 2012); In re
Allen, 27 A.3d 1178 (D.C. Cir. 2011); In re Abrams, 689 A.2d 6 (D.C. 1997) (en banc), cert. denied,
521 U.S. 1121 (1997); In re Kent, 467 A.2d 982 (D.C. 1983). Leis’s holding is that pornographer
Larry Flynt’s out-of-state lawyers had no property right to practice in a State where they were not
licensed. The Supreme Court’s statement that “[s]ince the founding of the Republic, the licensing
and regulation of lawyers has been left exclusively to the States and the District of Columbia within
their respective jurisdictions.” is both classic dicta and a non sequitur as to the argument we present
to oppose the subpoena. If Leis held what ODC claims, Section 530B and Section 77.2(h) would
not have been necessary for Congress and DOJ, respectively, to put in place.
Additionally, Leis, In re Abrams, and In re Kent are all pre-Section 530B/pre-Section 77.2(h).
Mendoza Toro, In re Howes, and In re Kline all involved AUSAs practicing before D.C. or Puerto
Rico courts, which we conceded subjects them to local discipline. Mr. Clark here appeared in no
D.C. court. Mendoza Toro also involved an attorney affirmatively arguing that she was bound by
Puerto Rico ethics laws. In re Kent involved an AUSA who pleaded guilty to taking property
without right and presented no reported jurisdictional defenses; neither did the White House
assistant in In re Allen which was also similar to In re Kent in that it involved shoplifting. In re
Howes involved an AUSA who admitted to six ethics rule violations before the Bar. Finally, while
we do not have access to the briefing in In re Dobbie and Taylor, DCCA No. 21-BG-024, it would
not be surprising if DOJ, consistent with the Section 77.2(h) regulation we argue is ultra vires,
conceded D.C. Bar jurisdiction. Of course, that cannot preclude us from arguing DOJ is wrong.

                                                  9
       Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 11 of 13




that argument in greater detail below with ODC. But ODC insists that an investigation is required

now to see if Rules 8.4(a), (c), (d) have been violated. Reply at 9. Respectfully, this ignores that

the draft letter itself cited evidence (see supra Point 4) and thus the notion that the Senate Report

facially shows that a “false claim,” Reply at 9, was made by Mr. Clark fails at the outset. This

Court clearly has the inherent power to instruct ODC to withdraw from this campaign of political

“lawfare” against Mr. Clark. That would spare him tens of thousands of dollars in legal expenses

and avoid chilling political appointees of both parties considering future public service.

    9. It Is Entirely Proper to Consider the Policy Implications of Proceeding Further. The

fact that a political witch hunt is being conducted against Mr. Clark, and that ODC still identifies

no case (see Response at 19-20) where discipline has ever been imposed for a never-sent

confidential draft letter rejected by the principal, is clearly relevant. ODC does not even indicate

whether it reviewed or analyzed the sworn testimony given to the Georgia Senate, though the letter

cites that very testimony, and decided that all of it was somehow unreliable (as would seem

necessary to meet its “clear and convincing” evidentiary burden, see Board Rule 11.6, to show a

violation of D.C.’s Rules of Professional Conduct by Mr. Clark). This Court, by contrast, can and

should look at that evidence and conclude it was enough and hence this ill-conceived investigation

should be terminated. Anything else will incentivize third-party lawfare strategies, where “the

process is the punishment,” making even a future Respondent victory on the merits below pyrrhic.

                                         CONCLUSION

       Oral argument should be granted and it is telling that ODC opposes oral argument across

the board, see Reply at 5, even on the bedrock constitutional issues surrounding the Fifth

Amendment. The Cross-Motion to Quash should be granted on one or more of the grounds given

above or in the Response.



                                                 10
      Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 12 of 13




      Respectfully submitted this 21st day of February 2022.

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       Case 1:22-mc-00096-RC Document 1-69 Filed 10/17/22 Page 13 of 13




                              CERTIFICATE OF SERVI CE

       I hereby certify that I have on this day served counsel for the opposing parties and others

with a copy of this Reply in Support of Cross-Motion to Quash by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

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       This 21st day of February 2022.


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